        Case 1:17-cr-00201-ABJ Document 47-1 Filed 11/15/17 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
              v.                             )
                                             )
PAUL J. MANAFORT, JR. and                    )       Crim. No. 17-201 (ABJ/DAR)
RICHARD W. GATES III,                        )
                                             )
              Defendants.                    )

                                         ORDER

       Upon consideration of Defendant Richard W. Gates III’s Motion to Modify Release

Conditions for Limited Purposes, it is this ___day of November 2017 hereby

       ORDERED, that the motion is GRANTED.


                                           _______________________________________
                                           AMY BERMAN JACKSON
                                           UNITED STATES DISTRICT JUDGE




                                              1
